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IN THE UNITED STATES DISTRICT COURT

FOR THE WESTERN DISTRICT OF WISCONSIN

Scott Schneider,

Plaintiff, NOTICE OF APPEAL
v. 3:19-cv-00202

Codeblue et al,

Defendants.

Notice is hereby given that Scott Schneider, Plaintiff in the above named case, hereby
appeals to the United States Court of Appeals for the Seventh Circuit from the final

judgment entered in this action on the 3rd day of September, 2021.

S cll S dei hy

{Signature of plaintiff(s)
2818 Augusta St #38
Eau Claire, WI 54701
(Address)

September 30, 2021

(Date)
